 Case 2:21-cv-01412-ART-EJY   Document 437-42   Filed 01/06/25   Page 1 of 52




                 EXHIBIT II
2012.06.19 Police Report filed with the
 Hillsborough County Sheriff's office
       Case 2:21-cv-01412-ART-EJY               Document 437-42            Filed 01/06/25   Page 2 of 52




                      Hillsborough County Sheriff's Office
                                       Confidential / Exemption

 Records are provided in accordance with Florida Statutes and the Public Records Law
 Description of exempt records and statutory basis for any exemptions are provided below:

 { }     ACCOUNT NUMBERS – FS § 119.071(5)b

 { }    ACTIVE INVESTIGATION – FS § 119.071(2)(c)1

 { }    AGENCY PERSONNEL INFORMATION – FS § 119.071(4)

 { }    ALARM CALL VIOLATION – FS § 119.071(3)

 { }    ATF FORM – FS § 119.071(2)(b) & 790.335 (1)(A)(2)

 { }    CHILD ABUSE – FS § 119.071(2)(h)1

 { }    CONFIDENTIAL INFORMANTS/SOURCE – FS § 119.071(2)(f)

 { }     CRIMINAL INTELLIGENCE INFORMATION – FS § 119.071(2)(h)2

 { }     D.A.V.I.D – FS § 322.142(4)

 { }    EMERGENCY COMMUNICATIONS E911 VOICE RECORDINGS - FS § 365.171(12)

 { }    FCIC/NCIC INFORMATION – FS § 943.053(2) & (3)

 { }    PROHIBITION OF REGISTRATION OF FIREARMS - FS § 790.335(1)(a)(2)

 { }    JUVENILE OFFENDER RECORDS (CONFIDENTIALITY) – FS § 985.04(1)

 { }    MEDICAL – FS § 119.0712(1)

 { }    SEXUAL OFFENSE – FS § 119.071(2)(h)1 & FS §794.024

 { }     SOCIAL SECURITY – FS § 119.071(5)5

 { }    UNDERCOVER PERSONNEL – FS §119.071(4)(c)

 { }    VICTIMͲPursuant to ARTICLE 1, SECTION 16 of the Constitution of the State of Florida (also
        known as "Marsy's Law")

 { }    OTHER_____________________________________________________________________________________

 ________________________________________________________________________________________________

Revised: RECORDS SECTION/COMMON/PROCEDURES/EXEMPTIONS Revised 3/26/2019 - IS
                                                                                   GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY  SHERIFF
                                             437-42 Filed 01/06/25            Page 3 of 52CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                         EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)


Records are provided in accordance with Florida Statute, Chapter 119 Public Records.




For 260901   Printed On Dec-04-2020 (Fri.)
Case 2:21-cv-01412-ART-EJY   Document 437-42   Filed 01/06/25   Page 4 of 52




              HILLSBOROUGH COUNTY SHERIFF
                   GENERAL OFFENSE HARDCOPY
                         (SEX OFFENSE)
                       GO# HS 2012-315380
     Case 2:21-cv-01412-ART-EJY                                        Document 437-42                           Filed 01/06/25                      Page 5 of 52

                                                                    Table of Contents

Related Event GO# HS 2012-315380 .................................................................................                                                           1

Offense(s) ............................................................................................................................                                      1

Related Event(s) .................................................................................................................                                           2

Related Person(s) ...............................................................................................................                                            2

     1. Suspect # 1 - MOORE, MITCHELL TAYLOR .....................................................................................                                           2
                MODUS OPERANDI - PERSON OFFENSES ................................................................................................                            3
     2. Complainant # 1 -                                                                      .........................................................................     3
     3. Complainant # 2 -                                                    ............................................................................................    4
     4. VictimJUV # 1 -                                                   ..............................................................................................     5
 Related Narrative(s) ..........................................................................................................                                             7

     1. Heneveld, Craig (Terminated) (5123), INVESTIGATION .................................................................                                                 7
     2. Heneveld, Craig (Terminated) (5123), INTERVIEW-COMPLAINANT -                                                                                                         8
            ...........................................................................................................................................................
     3. Heneveld, Craig (Terminated) (5123), INTERVIEW-COMPLAINANT -                                                                                             .......     9
     4. Heneveld, Craig (Terminated) (5123), INTERVIEW-VICTIM -                                                                                     ....................    10
Related Follow Up(s) .........................................................................................................                                              11

     1. Follow Up Report # HS 1 - Gross, Hugh ............................................................................................                                  11
     2. Follow Up Report # HS 2 - Gross, Hugh ............................................................................................                                  16
Related Clearance Information .........................................................................................                                                     22

Related Property Report(s) ...............................................................................................                                                  23

     1. PROPERTY REPORT # 201974 (EVIDENCE) ..................................................................................                                              23
                ARTICLE (TAG # HS201974 - 001) ...............................................................................................................              23
Related Attachment(s) .......................................................................................................                                               24

     1. MRE Attachments - STATEMENT ........................................................................................................                                24
     2. Property Receipts - SAO CASE CLEARING/ATTY. LETTER/ POLICE SUPPL. ...............................                                                                   32
                                                                              GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY  SHERIFF
                                             437-42 Filed 01/06/25       Page 6 of 52CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                           EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)



General Offense Information

  Operational Status CLEARED BY EXCEPTION
       Reported On JUN-19-2012 (TUE.) 1109
  Occurred Between JUN-15-2007 (FRI.) 1200 AND DEC-15-2010 (WED.) 1200
      Approved On AUG-22-2012 (WED.)
       Approved By 2523 - POWELL, CHRISTOPHER
   Report Submitted 5123 - HENEVELD, CRAIG (TERMINATED)
                  By
           Org Unit D3 DAY A GOLF SQUAD




             Felony/ FELONY
       Misdemeanor
     Family Violence NO
        Cargo Theft NO

Offenses (Completed/Attempted)

          Offense # 1 SEX OFF-1 SEX OFFENSE - COMPLETED
           Location RESIDENCE/HOME (MOBILE HOMES, APARTMENTS, CONDOS, NURSING HOMES)
 Suspected Of Using NOT APPLICABLE
      Weapon Type NONE
               Bias NONE (NO BIAS)




                                                                                  By raharrison at 3:27 pm, Dec 04, 2020




For 260901   Printed On Dec-04-2020 (Fri.)                                                  Page 1 of 47
                                                                                          GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY  SHERIFF
                                             437-42 Filed 01/06/25                  Page 7 of 52CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                                EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)



Related Event(s)

 1. CP HS2012-315380

Related Person(s)

 1. SUSPECT # 1 - MOORE, MITCHELL TAYLOR

   CASE SPECIFIC INFORMATION

                 Sex MALE
                Race WHITE
        Date Of Birth APR-16-1985
            Address 3478 ST BART LN                               Apartment 303
         Municipality TAMPA
                State FLORIDA
           ZIP Code 33614
                      District D3 Beat G04 Grid HS3176

   PERSON PARTICULARS

     Place Of Birth SOUTH CAROLINA
        Citizenship AMERICA - UNITED STATES OF
      Marital Status SINGLE
           Ethnicity NOT OF HISPANIC ORIGIN
Language(s) Spoken ENGLISH
              Height 6'02
          Disability NO
               Build THIN                                        Complexion FAIR
         Hair Color BROWN                                          Hair Style STRAIGHT, SHORT


   MASTER NAME INDEX REFERENCE

               Name MOORE , MITCHELL TAYLOR
                 Sex MALE
                Race WHITE
        Date Of Birth APR-16-1985
            Ethnicity NOT OF HISPANIC ORIGIN
            Address 7472 SPRINGSIDE DR
         Municipality MYRTLE BEACH
                State SOUTH CAROLINA
           ZIP Code 29588

      PHONE NUMBERS
             Cellular (917) 545-7316
For 260901   Printed On Dec-04-2020 (Fri.)                                                       Page 2 of 47
                                                                                          GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY  SHERIFF
                                             437-42 Filed 01/06/25                   Page 8 of 52CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                                EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)

                Other (843) 945-2692
                Other (843) 650-9329


   LINKAGE FACTORS

    Resident Status NON-RESIDENT
         Age Range 22-29 YEARS
  Access To Firearm NO


   MODUS OPERANDI - PERSON OFFENSES

     Done/Attempted DONE                                               Actions SEXUAL ASSAULT
        Location Type SINGLE FAMILY RESIDENCE
   Victim Description SINGLE
     Apparent Motive SEXUAL
    Victim Lives With PARENTS

      SUSPECT
      Action Before OTHER
   Method Of Arrival AUTO
       Made Victim PERFORM SEX ACTS, OTHER
         Demanded SEX
         Demeanor APOLOGETIC/POLITE


 2. COMPLAINANT # 1 -




              -
For 260901   Printed On Dec-04-2020 (Fri.)                                                       Page 3 of 47
                                                                            GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY  SHERIFF
                                             437-42 Filed 01/06/25     Page 9 of 52CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                  EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




 3. COMPLAINANT # 2 -




                 -


For 260901
              -
             Printed On Dec-04-2020 (Fri.)                                         Page 4 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 10 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




                 -


 4. VICTIMJUV # 1 -




For 260901
              -
             Printed On Dec-04-2020 (Fri.)                                          Page 5 of 47
                                                                              GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 11 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                    EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




   -
    -                                    -                                I-



For 260901   Printed On Dec-04-2020 (Fri.)                                           Page 6 of 47
                                                                                  GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25           Page 12 of 52
                                                                                        CLEARED BY
                                            GENERAL OFFENSE HARDCOPY                     EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e INVESTIGATION
        Subject
         A u t h o r 5123 - Heneveld, Craig (Terminated)
  R e l a t e d D a t e Jun-19-2012 14:30
  I responded to                         in reference to a Sexual Battery
  complaint. Between June 2007 and December 2010 the suspect, Mitchell
  Moore, had sexually battered the juvenile victim,               , on
  numerous occasions, by penetrating her vagina with his fingers and his
  tongue. The Sexual Battery occurred at the above address. In December 2010,
  Mr. Moore left the local area and traveled to an unknown out of state
  location. It was felt he moved to England. The victim feels he is in the
  Boston area at this time.

  I met with and interviewed the victim,               , and her parents,
                        , and                , (see interviews). Due to the
  time frame of the allegation, I did not process the crime scene. I was
  unable to contact the suspect due to his unknown location. I have no
  further information in reference to this case.

    MRE Attachments:         Victim Statement (three pages), Copy of note from Suspect




For 260901    Printed On Dec-04-2020 (Fri.)                                              Page 7 of 47
                                                                               GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25        Page 13 of 52
                                                                                     CLEARED BY
                                            GENERAL OFFENSE HARDCOPY                  EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e INTERVIEW-COMPLAINANT
        Subject
         A u t h o r 5123 - Heneveld, Craig (Terminated)
  R e l a t e d D a t e Jun-19-2012 14:45
  The mother of               ,              , stated under oath her daughter
  came to her on 6/18/12 and advised her of what had happened during the time
  Taylor was in town and living at their home. Around June 2007, she let
  Taylor move in to the house. He was only to be in the house for two weeks.
  He ended up there for several months. During the time Taylor was the dance
  instructor at the Center Stage Dance Studio, she had a feeling there was
  something going on but did not know what. There were rumors that Taylor
  was having a relation with another student at the studio. When Taylor left
  the area she was glad he left.

  Note:            stated she found a letter written on a card in
  room. The letter was written by Taylor and talks about          age and
  some thoughts from Taylor. She thought it would show what Taylor was
  thinking at the time of the relationship.




For 260901    Printed On Dec-04-2020 (Fri.)                                           Page 8 of 47
                                                                               GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25        Page 14 of 52
                                                                                     CLEARED BY
                                            GENERAL OFFENSE HARDCOPY                  EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e INTERVIEW-COMPLAINANT
        Subject
         A u t h o r 5123 - Heneveld, Craig (Terminated)
  R e l a t e d D a t e Jun-19-2012 15:00
  The father,                , stated under oath he came over to his
  ex-wife's house to talk to       . He was told what had happened between
         and Taylor for a period of 3 years. He and           mother
  suggested        call the Sheriff's Office to report the incident.




For 260901    Printed On Dec-04-2020 (Fri.)                                           Page 9 of 47
                                                                               GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25        Page 15 of 52
                                                                                     CLEARED BY
                                            GENERAL OFFENSE HARDCOPY                  EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e INTERVIEW-VICTIM
        Subject
         A u t h o r 5123 - Heneveld, Craig (Terminated)
  R e l a t e d D a t e Jun-19-2012 14:30
  The victim,               , stated under oath she was              when
  Taylor (suspect Michael Taylor Moore) moved down from North Carolina to
  teach at her dance studio. Her mom allowed him to stay at their home and
  stay in an extra room until he found an apartment (approximately two
  weeks). From the beginning, he gave her more attention than anyone else,
  even at the dance studio. Things started to be physical slowly. He would
  hug her and pick her up off the floor but she would keep her legs straight
  dangling them. The first time she moved her legs apart he said he had been
  waiting for her to to that. Then one night when everyone was asleep he
  starting kissing her which caused her to be uncomfortable. She did not
  know what to do. Things progressed by him giving her massages and touching
  her closer to her private areas.

  She stated there were unknown number of sexual encounters between her and
  Taylor. He talked to her many times about how he wanted to "go down on
   her". She did not want that. She was about            when he brought up
  the idea again. She was not comfortable with that again. He said she
  could trust him and that he loved her and just let him do it. He then
  basically forced her to let him "go down on her". She remembers starring
  at the ceiling hating it. Before this incident,         stated he would
  finger her, placing his fingers in side of her, pulling them out, look at
  her and lick his fingers and suggest letting him "go down on her".

  She advised Taylor left the area and moved to England in 2010. He was in
  love with a ballerina named Dusty Button who was dancing in London. She
  recently looked up Dusty and found she was dancing in the Boston Ballet.
  She believes Taylor is also in Boston.

  She has been seeing a Psychiatrist for sometime and came out with what had
  happen to her on 6/16/12. She then told her parents on 6/18/12. When they
   found out what had happened to her during that three to four year period
  they advised her to call the Sheriff's Office to report what had happened
  to her.




For 260901    Printed On Dec-04-2020 (Fri.)                                          Page 10 of 47
                                                                                               GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                       Page 16 of 52
                                                                                                    CLEARED BY
                                           GENERAL OFFENSE HARDCOPY                                    EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)
                                                                                           Follow Up Report # HS 1

Follow Up Report # 1


   ASSIGNMENT INFORMATION

        Assigned To 5751 - GROSS, HUGH                                      Rank DETECTIVE
            Capacity INVESTIGATE/CASE MANAGER                            Org Unit JUVENILE SECTION
        Assigned On JUN-20-2012 (WED.) 1010                                   By 349 - HALL PAMLA L (RETIRED/
                                                                                  RETIRED PART TIME)
      Report Due On JUL-10-2012 (TUE.)



   SUBMISSION INFORMATION

       Submitted On JUL-21-2012 (SAT.) 0848
        Checked By 2523 - POWELL, CHRISTOPHER
        Approved On JUL-27-2012 (FRI.)                                       By 2523 - POWELL, CHRISTOPHER



   FOLLOW UP CONCLUSION

              Follow Up YES
             Concluded




For 260901     Printed On Dec-04-2020 (Fri.)                                                         Page 11 of 47
                                                                                          GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                  Page 17 of 52
                                                                                               CLEARED BY
                                            GENERAL OFFENSE HARDCOPY                             EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e INTERVIEW-VICTIM
        S u b j e c t (Victim #1)
         A u t h o r 5751 - Gross, Hugh
  R e l a t e d D a t e Jun-25-2012 15:15

  The interview with                 was conducted at the Hillsborough County Sheriffs District 1
  office on the above listed date and time.




  -        stated that this started when she was               and that she has never had sexual
  intercourse with Mitchell Moore. She said that he would put his fingers inside of her and that he only
  performed oral sex on her one (1) time. She said that he did not force her to do anything with him
  but she felt pressured into doing the things that she did with him. She said that he had put his



                                                             -
  fingers into her vagina more than 20 times over the 4 years he was doing this to her. She said that
  the last time he did anything with her was in December 2010.



                                                           -
                                                                           stated that these incidents
  occurred at her house, the dance studio, his apartment and in his car. She said that the only time
  he performed oral sex on her was in his apartment.            stated that she had given him handjobs
  no more that 5 times. When she was asked if he forced her to give him a handjob she said that he
  did not force her but that he would put her hand on his penis. She said that she felt pressured into
  doing these things but not forced.




  -      said that she received a text from him several months ago but she has no way of contacting
  him. She said that she is willing to assist in the investigation in any way that she can but that she
  does not know his phone number (the text came in the from of an AIM) or his email address.




For 260901    Printed On Dec-04-2020 (Fri.)                                                     Page 12 of 47
                                                                                            GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                    Page 18 of 52
                                                                                                 CLEARED BY
                                           GENERAL OFFENSE HARDCOPY                                 EXCEPTION
                                                CUSTOMER SERVICE
                                              (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e DETECTIVE FOLLOW UP
        Subject
         A u t h o r 5751 - Gross, Hugh
  R e l a t e d D a t e Jun-24-2012 8:48

  On 06/20/12 I was assigned this case for follow up investigation. This case involves the alleged
  sexual abuse of a female,                                        by a known person, Mitchell Taylor
  Moore (W/M 04/16/85). It is alleged that this sexual abuse started to take place when the victim was
                and continued until the victim was               . The victim is currently
  and just reported this abuse to law enforcement. The specific allegations are that the suspect would
  kiss the victim, "dry hump" her, finger her (put his fingers in her vagina) and that he performed
  oral sex on her.



  On 06/21/12 I went to the residence of the victim in an attempt to conduct an interview with her in
  regards to this incident. She was not at home and I left my HCSO business card for her and
  requested that she call me.




  On 06/22/12 I received a telephone message from                         in regards to the business card
  that I left for her. She advised that I could call her back on her cellular phone when I receive her
  message.



  On 06/25/12 I spoke with                  on the telephone. She advised me that she would be able

  around 3:00 pm to set up the time we would meet at the District 1 office.
                                                                               -
  to meet me at the HCSO District 1 office around 3:00 pm today. I told her that I would call her
                                                                                     came to the
  District 1 office and an interview was conducted with her in regards to this incident.




  On 06/27/12 I obtained the DAVID photograph for the suspect, Mitchell Taylor Moore, for
  identification purposes. I completed a background investigation on him which included a criminal
  history check. Mitchell Moore has been arrested in North Carolina in 2003 for the charge of
  shoplifting. He does not have any other arrests that were able to be located at this time. The DAVID
  records show that Mitchell Moore changed his forwarding address to 7472 Springside Drive, Myrtle
  Beach, South Carolina on 03/10/2011. The DAVID photograph and criminal history were placed into
  the case file for future reference.




  On 06/27/12 I conducted a TLO search for Mitchell Moore and the results showed a possible current
  address for him as, 10020 Woodberry Trail Lane, Apartment 421, Charlotte, North Carolina. The TLO
  search was placed into the case file for future reference.




For 260901    Printed On Dec-04-2020 (Fri.)                                                       Page 13 of 47
                                                                                         GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                 Page 19 of 52
                                                                                              CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                               EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




  On 06/28/12 I went to the Grande Oasis Apartment complex in an attempt to see when the suspect
  moved out of his apartment. I learned that the unit the suspect lived in, 3478 Saint Bart Lane
  #303, is privately owned and that the apartment management did not have any information or
  access to the records for that apartment. I then went to the homeowners association office and they
  provided me with the property manager's name and number for unit 303. I was provided with the
  name, Linda Crawford, and her phone number (813) 920-4186. At 15:04 hours I called Linda
  Crawford, the property manager, but there was no answer on the telephone. I left her a message
  and requested that she return my telephone call.




  On 06/29/12 I spoke with Linda Crawford on the telephone. She stated that she thinks Mitchell
  Moore moved out of the apartment in September or October of 2011. She said that she thinks he
  may have provided a forwarding telephone number but she is not sure. She said that he left the
  apartment a mess and told her that he is moving to England but she was not sure that she believed
  him. She said that she is currently out of town and when she returns she will look up his file and
  email me with the details.



  On 07/02/12 I received a telephone message from                     and she stated that she has tried
  to find a way to contact Mitchell Moore but she has been unable to reach him. She said that she will
  continue to try and reach him and that she will let me know if she can locate him.



  On 07/02/12 I called Linda Crawford to see if she was able to obtain any forwarding information for
  Mitchell Moore. She did not answer her telephone so I left her a message to return my telephone
  call. At 15:20 hours I spoke with Linda Crawford on the telephone in regards to this case. She stated
  that Mitchell Moore did not leave a forwarding telephone number but he moved from the apartment
  in January 2011.




  On 07/10/12 I called                 to discuss this case with her. She did not answer the telephone
  so I left her a message requesting that she return my telephone call.




  On 07/11/12 I called                again to discuss this case with her. I spoke with her on the
  telephone and she said that she has not been able to get any contact numbers for Mitchell Moore. I
  asked her how she wanted to proceed with this case and she said that she still wants to pursue this
  case.




  On 07/11/12 I called the Charlotte-Meckleburg Police Department to see if they would be able to
  assist me with locating and interviewing the suspect. I was not able to speak with a Detective so I




For 260901   Printed On Dec-04-2020 (Fri.)                                                     Page 14 of 47
                                                                                         GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                 Page 20 of 52
                                                                                              CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                               EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)


  left a message to have a Detective call me back.




  On 07/13/12 I called and spoke with Detective Myhand from the Charlotte-Meckleburg Police
  Department. I provided him with the information regarding my investigation and requested that
  they attempt to locate the suspect, Mitchell Moore, who lives within their jurisdiction and conduct
  an interview with him in regards to these allegations. Detective Myhand requested that I fax him a
  copy of the incident report and the suspect information and he stated that they will attempt to
  conduct a suspect interview with Mitchell Moore, if he could be located.



  On 07/16/12 I faxed a copy of this incident report to Detective Myhand of the Charlotte-Meckleburg
  Police Department so he could attempt to interview the suspect, Mitchell Moore.




  I request this report be left open and active and reassigned to me until such time as the suspect is
  interviewed by the Charlotte-Meckleburg Police Department in regards to these allegations.




  I will supplement this case at a later date and time.




For 260901   Printed On Dec-04-2020 (Fri.)                                                     Page 15 of 47
                                                                                              GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                      Page 21 of 52
                                                                                                   CLEARED BY
                                           GENERAL OFFENSE HARDCOPY                                    EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)
                                                                                          Follow Up Report # HS 2

Follow Up Report # 2


   ASSIGNMENT INFORMATION

        Assigned To 5751 - GROSS, HUGH                                      Rank DETECTIVE
           Capacity CONTINUE INVESTIGATION                               Org Unit JUVENILE SECTION
       Assigned On JUL-21-2012 (SAT.) 0848                                    By 5751 - GROSS, HUGH
      Report Due On AUG-20-2012 (MON.)



   SUBMISSION INFORMATION

       Submitted On AUG-22-2012 (WED.) 1412
        Checked By 2523 - POWELL, CHRISTOPHER
        Approved On AUG-22-2012 (WED.)                                       By 2523 - POWELL, CHRISTOPHER



   FOLLOW UP CONCLUSION

              Follow Up YES
             Concluded




For 260901     Printed On Dec-04-2020 (Fri.)                                                          Page 16 of 47
                                                                                        GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                Page 22 of 52
                                                                                             CLEARED BY
                                           GENERAL OFFENSE HARDCOPY                               EXCEPTION
                                                CUSTOMER SERVICE
                                              (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e INTERVIEW-SUSPECT
        S u b j e c t (Suspect #1) MOORE, MITCHELL T
         A u t h o r 5751 - Gross, Hugh
  R e l a t e d D a t e Aug-21-2012 9:47

  An interview with Mitchell Taylor Moore was not conducted due the fact that he retained legal
  representation and elected not to discuss this incident with me.




For 260901    Printed On Dec-04-2020 (Fri.)                                                   Page 17 of 47
                                                                                               GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                       Page 23 of 52
                                                                                                    CLEARED BY
                                            GENERAL OFFENSE HARDCOPY                                   EXCEPTION
                                                 CUSTOMER SERVICE
                                               (SEX OFF-1 SEX OFFENSE)




  Narrative Text
             T y p e DETECTIVE FOLLOW UP
        Subject
         A u t h o r 5751 - Gross, Hugh
  R e l a t e d D a t e Jul-25-2012 10:29

  On 07/24/12 I received an email from Inspector Bradley of the U.S. Postal Inspectors Office. His mail
  stated that the forwarding address for Mitchell Moore was in Myrtle Beach, South Carolina. The email
  was placed into the case file for future reference.




  On 07/25/12 I called the Myrtle Beach Police Department in regards to locating and interviewing my
  suspect in this case. I left a message for Detective Adams (843-918-1904) and requested that he
  call me back.



  On 07/30/12 I spoke with Detective Adams of the Myrtle Beach Police Department regarding this
  case. He advised me that the address I provided him is outside of his jurisdiction and he provided
  me with the telephone number of (843) 915-5350 and stated that the address falls within the
  jurisdiction of the Horry County Police Department. At 13:20 hours I called Sgt. C. Squires of the
  Violent Crimes Division for the Horry County Police and left him a telephone message requesting that
  he return my telephone call.




  On 07/30/12 I called Detective Myhand of the Charlotte Meckleburg Police Department to see if he
  has had the opportunity to interview my suspect, Mitchell Moore, for this case. He was not in the
  office and I left him a message requesting that he return my telephone call.




  On 07/30/12 I received a phone call from Detective N. Frebowitz of the Horry County Police
  Department. He advised me that Sgt. Squires provided him with my phone number and stated that
  he would assist me with the interview of Mitchell Moore. He provided me with his telephone number
  for me to call him with the case details.



  On 07/31/12 I called Detective Frebowitz and he was not available at this time. I left my phone
  numbers and requested that he return my call so I could explain this case to him.




  As of 07/31/12 I have not heard from the victim,                       , since we last spoke on 07/11/12.



  On 08/01/12 I spoke with Detective Myhand of the Charlotte Meckleburg Police Department in


For 260901    Printed On Dec-04-2020 (Fri.)                                                           Page 18 of 47
                                                                                          GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                  Page 24 of 52
                                                                                               CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                                 EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)


  regards to this incident. Detective Myhand stated that he received our incident report and that he
  will attempt to locate and interview Mitchell Moore on Monday of next week. He said that he would
  call me next week to let me know if he was able to locate and interview Mitchell Moore.




  On 08/01/12 I spoke with Detective Frebowitz of the Horry County Police. He requested that I email
  him a copy of our incident report so he can review it prior to attempting to make contact with
  Mitchell Moore. I emailed him a copy of my incident report for him to review.




  On 08/02/12 I received an email from Detective Frebowitz in regards to his attempt to interview the
  suspect. He advised that the residence belonged to the suspects future in-laws and and that the
  suspect, Mitchell Moore, was currently living somewhere near Boston. He provided me with a phone
  number for Mitchell Moore and with his supplement. The information received from Detective
  Frebowitz is attached to this supplement.



  On 08/06/12 I called              to discuss this case with her. We made plans to meet on
  Wednesday 08/08/12 to attempt a controlled phone call with Mitchell Moore.



  On 08/08/12 I met with                  at the District 3 office to give her the telephone recording
  equipment. I showed her how to operate the digital recorder and left the recorder with her. I told
  her that after she completes the telephone call she should call me and I will make arrangements to
  meet her and collect the digital recorder.




  On 08/10/12 I received a telephone message from                       and she said that she made the



                                                                             -
  telephone call to Mitchell Moore and that I should return her telephone call so we can schedule a
  time to meet for me to collect the digital recorder. I called and spoke with         on the telephone
  and she said that she would meet me at the District 3 office to return the digital recorder. I made
  arrangements to meet with her at 16:15 hours.




  On 08/10/12 I received a telephone message from Ken Swartz, an attorney, who advised that he
  represents Mitchell Moore and he requested that I return his telephone call. He provided me with his
  telephone number, (305) 579-9090, to return his call.




  On 08/11/12 I received an email from Detective Myhand who advised that he went to the listed
  address in Charlotte and that Mitchell Moore has not lived at that address for the past 10 years. The




For 260901   Printed On Dec-04-2020 (Fri.)                                                       Page 19 of 47
                                                                                           GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                   Page 25 of 52
                                                                                                CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                                  EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)


  email was printed out and placed into the case file for future reference.




  On 08/13/12 I made copies of the controlled telephone call and placed a CD copy of the controlled
  phone call into HCSO evidence for safekeeping. I placed another copy of the CD into the case file for
  future reference.



  On 08/14/12 I spoke with Attorney Swartz on the telephone regarding this case. He advised me that
  he is representing Taylor Moore at this point in time and that all correspondence should be directed
  through him. He advised me that he would send me a letter stating that he is representing Mr.
  Moore. I received the letter from the Swartz Law Firm on this date and the letter was placed into the
  case file for future reference.




  On 08/20/12 I sent an email to Attorney Swartz asking him if his client would make himself available
  for an interview or polygraph in regards to this incident. I received a response from Attorney Swartz
  and he requested to call me the morning of 08/21/12.




  On 08/21/12 I spoke with Attorney Swartz on the telephone in regards to this investigation. He
  advised that his client would not be available for an interview or a polygraph test. He stated that his
  client has denied these allegations and that his client has told him that these allegations are not
  true.




  On 08/21/12 I reviewed this case with Assistant State Attorney L. Shiflet. After carefully reviewing
  the facts of this case along with the details of the controlled phone call she elected to sign a case
  clearing form for this incident. The case clearing form states the following: Law enforcement has
  determined there is probable cause to arrest the suspect. However, in order to file criminal charges,
  the State must meet a much higher standard of proof beyond a reasonable doubt. In this case the
  State has determined it is unable to satisfy that burden. For specific notes from L. Shiflet refer to
  the case clearing form which is attached to this supplement.




  This case is exceptionally cleared with a case clearing form signed by the Hillsborough County State
  Attorneys Office.




For 260901   Printed On Dec-04-2020 (Fri.)                                                        Page 20 of 47
                                                                                   GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25            Page 26 of 52
                                                                                         CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                         EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




  I have no further information regarding this case at this point in time.




  MRE attachments:




  S.A.O. case clearing form

  Letter from Attorney K. Swartz

  property receipt

  Horry County Police Department Supplement report




For 260901   Printed On Dec-04-2020 (Fri.)                                               Page 21 of 47
                                                                              GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25       Page 27 of 52
                                                                                    CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                    EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)



Clearance Information

             Agency HILLSBOROUGH COUNTY
      Cleared Status CLEARED EXCEPTIONALLY-ADULT - PROSECUTION DECLINED (BY SAO OTHER THAN
                      LACK OF EV
         Cleared On AUG-22-2012 (WED.)
 Cleared By Officer 1 5751 - GROSS, HUGH
            Org Unit CIJS0 - JUVENILE SECTION
 Complainant/Victim NO
            Notified




For 260901   Printed On Dec-04-2020 (Fri.)                                          Page 22 of 47
                                                                                            GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                     Page 28 of 52
                                                                                                  CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)



Related Property Report(s)


   REPORT INFORMATION

   Property Report # 201974
        Case Status EVIDENCE
      Submitted On AUG-13-2012 (MON.)                                       By GROSS, HUGH
  Disposal Authority GROSS, HUGH                                       Org Unit JUVENILE SECTION

      RELATED EVENTS
             Offense GO HS 2012 - 315380

    General Remarks LEEDS_HCSO_12009502-001_COMPLETED
       Related Items 1


   ARTICLES - EVIDENCE

              Status EVIDENCE
               Tag # HS201974 - 001
              Article RCDISC- RADIO, TV, ENTERTAINMENT DEVICES
               Make NO BRA
         # Of Pieces 1
           Serial # 1 UNKNOWN
               Value $0.00
         Description 1 CD OF CONTROLLED TELEPHONE CALL
    Recovered Value $0.00
               Flags X-REFERENCE, EVIDENCE
    Current Location W1 GEN/04/J/06/D




For 260901   Printed On Dec-04-2020 (Fri.)                                                         Page 23 of 47
                                                                                                       GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                             437-42 Filed 01/06/25                               Page 29 of 52
                                                                                                             CLEARED BY
                                             GENERAL OFFENSE HARDCOPY                                         EXCEPTION
                                                   CUSTOMER SERVICE
                                                 (SEX OFF-1 SEX OFFENSE)



Related Attachment - MRE Attachments

        Description STATEMENT
  Reference Number




                                                     20 J.J__, at~/=3=.:S._"D_ _ _ _ _ _ hours

                                                     Witness: _ _ _ _ _ _ _ _ __

                                                     Witness: _ _ _ _ _ _ _ _ __

    3200 Rev. 1105




For 260901       Printed On Dec-04-2020 (Fri.)                                                               Page 24 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 30 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 25 of 47
                                                                                          GO# HS 2012-315380
                             HILLSBOROUGH
          Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                              437-42 Filed 01/06/25                 Page 31 of 52
                                                                                                CLEARED BY
                                             GENERAL OFFENSE HARDCOPY                            EXCEPTION
                                                   CUSTOMER SERVICE
                                                 (SEX OFF-1 SEX OFFENSE)




     20


                                                     20~at       /3 s P     hours

                                                     Witness: _ _ _ _ _ _ _ __

                                                     Witness: _ _ _ _ _ _ _ __

    3200 Rev. 1105




For 260901       Printed On Dec-04-2020 (Fri.)                                                  Page 26 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 32 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 27 of 47
                                                                                               GO# HS 2012-315380
                            HILLSBOROUGH
         Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                             437-42 Filed 01/06/25                       Page 33 of 52
                                                                                                     CLEARED BY
                                                  GENERAL OFFENSE HARDCOPY                            EXCEPTION
                                                       CUSTOMER SERVICE
                                                     (SEX OFF-1 SEX OFFENSE)




                                                         20~.at      1,3 :SQ     hours




      Deputy:   Cl       ..a. J--L   ••   72---          Witness: _ _ _ _ _ __

    3200 Rev. 1/05




For 260901       Printed On Dec-04-2020 (Fri.)                                                       Page 28 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 34 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 29 of 47
                                                                                                             Case 2:21-cv-01412-ART-EJY         Document 437-42      Filed 01/06/25                         Page 35 of 52
       EXCEPTION




                                                                                                                                                                                                                                                           Page 30 of 47
GO# HS 2012-315380
      CLEARED BY




                                                                                                                                                                      J ;;J           y .eov:> . -::r: ~ w or l,(p ct.
                                                                                                                         X do/")+ e,~ Kl)uv0 w\uM ~c, h fN'-c1 h, b-e w ~ T ~
 HILLSBOROUGH COUNTY SHERIFF




                                                                                                                                                           (t ovJ I . lol,A.,t :[ l,r..)Ov..\ J._ l)~
                                                                                                                     1U ~O(f\ ".,., T Y")O.ve cdvay.)
                                                                                                                    00 \lR d _rvty ~ Ii 1' W'n y 0N_? :     I+- Q.,\ \ l"f j'y, Ci. 5:?\1-t- ~(t0v(
                               GENERAL OFFENSE HARDCOPY




                                                                                                                    Vv~ 1\- UJl/"Wl') ,tr> fu. 0'-At7j<?&t C-cr      yci.A..,
                                                                             (SEX OFF-1 SEX OFFENSE)




                                                                                                                    of-- my Covn,'-y h·,&\-ury / T              11
                                                                                                                                                                   ::[  Cev...\ ot v...J2..V'--U' b\.l"e a0                                        ot1"1
                                                          CUSTOMER SERVICE




                                                                                                                                                                            :so       rvu.,<-c.lt       a;-,      X   /CM.R._       ycLA
                                                                                                                        ~        k,0..e.,vv ~    W1'SvJe (
                                                                                                                                                                            .w~ L/0vt_ 01ct .J- I ~ . ,,:
                                                                                                                    LV\ 1' l Ylo--J - u    ~ u.u y+-h ~                     rs h¼ CA__ nv.v. l- lo'""" ~ ~'    .L
                                                                                                                                                                                                         ,vl(O"l)                 1 ..:)
                                                                                                                                                                                                                                               A




                                                                                                                        hoy>flf)5    kr c::... ~~on    1
                                                                                                                                                                          10.-U<_           ""1 kc-.,~ l~k< it....y                         00<1\.I /
                                                                                                                                                                        I                    ~ Ylv il'VI'-< .. , i I- ~N
                                                                                                                                                                                11\.)....t 0\.
                                                                                                                    W\Cl f->ool        ~+ yev... h> vu..e.                  J
                                                                                                                                                                       o_ 0:1 ()            ~/ f_o___ l / C()DIJ ~ o<A.Ji..
                                                                                                       ~
                                                                                                       -y-          +u VV\o.,\A.e. up for ~ lcu)<.                          '1       Sc..         C{,d..01 ~ .. ..      \,I   -    VAA..D -
                                                                                                       ::t          al- k7VV! ;L;{ ~uffj n:,/~➔ k/or-<_
                                                                                                                    I   0 lrup 1. ./-iiav,l<_ t5°d for
                                                                                                                                                                  VCAl. (f__ KM~ kA. I IV\;, ell J Qi,..J,,




                                                                                                                                                                                                                                                           Printed On Dec-04-2020 (Fri.)
                                                                                                                    ycu_ t?vx1 Cc5k J,,Vvt ·tv bp                 Ovid_ ~ (:pi~ Ji, ~ ~ 1'-ec..t-                                  u
                                                                                                                    yw.
                                                                                                                           I
                                                                                                                               -:sa..1--e a, JI v, J-ra Ck.       Cb yev... orow. tv~ ¥
                                                                                                                                                                  'fii°"~                        Y11CN}/.-U v->t-ic.J I LI l
                                                                                                                    cu-- ■ YOA Q,N, a_l{{C:ol_( t'vtwt-e 11\W.v !vii'-<: yc;v... 1-e..)S -ht"\/\ T
                                                                                                                                                                                  n()




                                                                                                                    al- CL WCNVt ~ J; ~A-r~ +Jk.'1/\ do kc/. 6..'j . ~ bu ~<Vt
                                                                                                                    ~ f'VlOVVl COIA-lo{ ~ ~ ,              no Vvt.q-f'J-v w \,,--.;j        el                    y(;/IA             e, /

                                                                                                                    YD..A.. l-1.CJv-.t. pan ~ /VI O'V\..f I 11 'oacfi<_              L{J, 'I jiW yCfr--..

                                                                                                                    Io r l'1A.2 ;t, &J ot.ays 1 -lhevi    YGv.. ~ lu.oJf S




                                                                                                                                                                                                                                                           For 260901
                                                                                                                                                                                      ~ke         c1f       <:-               ("Cv--(

                                                                                                                                                          Ii, {jot.,i/ b;::; br~ 4.r-e.__,/ w,k w /
                                                                                                                    my pt71/1€1},J), ~ ~ 0 ✓h
                                                                                                                                                                                                      -TuvBavBt:tv
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 36 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 31 of 47
                                                                                                                GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                                         Page 37 of 52
                                                                                                                      CLEARED BY
                                               GENERAL OFFENSE HARDCOPY                                                EXCEPTION
                                                              CUSTOMER SERVICE
                                                        (SEX OFF-1 SEX OFFENSE)



Related Attachment - Property Receipts

        Description SAO CASE CLEARING/ATTY. LETTER/ POLICE SUPPL.
  Reference Number




                                    Case Clearance Form

                                                                      Case#



                      Writer met with A.S.A. _ _ _L_._~_h_i_f_!_e,_t _ _ _ _ and reviewed the facts of
              this case. Based upon the information provided to the State Attorney's Office, writer was
              advised the S.A.O. would not be filing criminal charges pursuant to:


                 1) After carefully reviewing the facts and applying the applicable case Jaw , the
                    S.A.O. has elected not to file criminal charges at this time.

               @Law Enforcement has determined there is probable cause to arrest the suspect.
                 However, in order to file criminal charges, the State must meet a much higher
                 standard of proof beyond a reasonable doubt. In this case the State has determined
                 it is unable to satisfy that burden.

                 3) The statute of limitations (when criminal charges must be filed after the
                    occurrence of the crime) has expired for the charge.

                 4) It has been determined that the details of this incident do not conform to the
                    elements of Florida State Statute _ _ _ _ _ _ _ _ _ _ __

                 5) The victim has changed his or her account of the incident and/or has become
                    uncooperative and based on that the S.A.O. cannot file charges.

                 6)




                                                       '"'-   C'-Q.      C)



                                    Sig"'dA.S.~


             Detective   d1-f1Git   4· b(rJ.JS                PID/ABN         575'(




For 260901   Printed On Dec-04-2020 (Fri.)                                                                            Page 32 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 38 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 33 of 47
                                                                                                                                                                                        GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                                                                                                                 Page 39 of 52
                                                                                                                                                                                              CLEARED BY
                                                                           GENERAL OFFENSE HARDCOPY                                                                                            EXCEPTION
                                                                                               CUSTOMER SERVICE
                                                                                        (SEX OFF-1 SEX OFFENSE)




                                                                                D Confidential
         HILLSBOROUGH COUNTY SHERIFF'S OFFICE                                                                                  Case Number                  I Event Number
         PROPERTY RECEIPT                                                   PAGE               OF                                   2012-315380                         N/A
                                                                                                                                                            I
         Type of Incident                                       Type of Property               (Check One)                     Evidence Use Only
                                                                O LosUFound/Abandoned Property
                         Lewd Battery                           li]Evidence/Safekeeping    □Homicide
                                                                OVehicle Impound           □Seiz u re/Forfeitu re

         Exact location where property was impounded

                            2224 Falkenburg Road, Tampa, Florida 33619
         #        IOReponed By          D Discovered By         D Owner
                                                          Moore, Mitchell Taylor
                                                                                [ii 01her ..                                        Race
                                                                                                                                      W
                                                                                                                                           I Sex
                                                                                                                                               M
                                                                                                                                                      Age
                                                                                                                                                      27
                                                                                                                                                            I       DOB
                                                                                                                                                                o 4/ 1 6 / s s
        Residence                                                                                                                                    Residence Phone
                              7472 Springside Drive, Myrtle Beach, South Carolina 29588                                                                 (917) 454-7316
        #      1 □ Reported By          D Discovered By         □ Owner

                                                                     N/A
                                                                                □ Other ..                                          Race   I Sex
                                                                                                                                                      Age   I      (°8        I
        Residence                                                                                                                                     Residence l"'hone


                  Evidence Use Only              Item #     Qty/Wgt                                    Description (Make , Model , Serial #, etc.)
                                                                                        Complete Reverse For Firearms, Bicycles, and Vehicles)

                                                                           CD of controlled telephone call
                                                                                                         •••• End of List ••••




                                1hereby acknowledge that the above list represents all


        Citizen
                     I        1 the proper1y taken from my possession and that I have
                       - - - ~ received a copy of this receipt.
                            Int                                                                     l"'rint Name                                                  Date
         Use


                     I---~I
                                        The property turned in by me to the Sh_ eriff
                                        is not mine and I claim no interest in it
                                                                                                    Signature
                            Int


                         Detective H. Gross                        5751 /560/C ID                                                                        Aug 13, 2012
                    Impounding Officer (Print Name)                  PIDISQD/OIST                       V          Srgnature                                     Date

         Item#                    Received By                        PIO                                           Purpose                           Received DatefTime




                                  C1/                                        bsea!ed
                                                                             □ Open

                                                                             □ seated
                                                                             □ O pen


       3030 Rev. 01105




For 260901          Printed On Dec-04-2020 (Fri.)                                                                                                                                             Page 34 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 40 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 35 of 47
                                                                                                                      GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                                               Page 41 of 52
                                                                                                                            CLEARED BY
                                                      GENERAL OFFENSE HARDCOPY                                               EXCEPTION
                                                                 CUSTOMER SERVICE
                                                             (SEX OFF-1 SEX OFFENSE)




                                                 The Swartz Law Firm
                                                   New World Tower, Suite 3070
                                                   100 Nortl1 Biscayne Boulevard
                                                    Miami, Florida 33132-2306
                                                       swartzlawyer.com
                                                 miamicriminaldefenselaw. com


                                                                                       Tel, (305) 579-9090
                                                                                       Fax, (786) 425- 2380
                                                                                       Ken @ Swartzlawyer.com
        Kenneth M. Swarb."




        •Board Certified
        Cri..minal Trial Practice




                                                                        August 11, 2012

                   Detective Hugh Gross
                   Criminal Investigations
                   Hillsborough County Sheriffs Office
                   P.O. Box 3371
                   Tampa, FL 33601

                              Re: Taylor Moore

                   Dear Detective Gross,

                           I am Mr. Taylor Moore's attorney. I understand that a detective Neil Frebowitz
                   from Horry County, South Carolina, contacted Mr. Moore about a few weeks ago on
                   behalf of the Hillsborough County Sheriff Department in an attempt to find a telephone
                   number for Mr. Moore. I also learned that the matter about which Mr. Moore was
                   contacted is being handled by you. On Friday August 10, 2012, I left a message with your
                   office requesting that you call me regarding this matter.

                           Mr. Moore's is certainly willing to cooperate with any investigation that your
                   Department may be conducting. I am requesting that any attempt to contact him be
                   directed to me.

                          Please contact me at your earliest convenience at the above phone number or my
                   cell number 305-951-5648 if there is any pending matter that may involve Mr. Moore. I
                   look forward to speaking with you.




For 260901       Printed On Dec-04-2020 (Fri.)                                                                              Page 36 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 42 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 37 of 47
                                                                                                                                           GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25                                                                    Page 43 of 52
                                                                                                                                                 CLEARED BY
                                                        GENERAL OFFENSE HARDCOPY                                                                  EXCEPTION
                                                                       CUSTOMER SERVICE
                                                                  (SEX OFF-1 SEX OFFENSE)




                         HORRY COUNTY POLICE DEPARTMENT                                                       Johnny E. Morgan
                                      Dedicated to Providing Comprehensive, Quality law Enforcement            Chief of Police

                         2560 North Main Street, Suite 7 -   Conway, SC 29526 - Tel: 843-915-5350 - Fax: 843-248-1886


                                                  Report of Investigation

                                         Investigating Officer: Oct. Frebowitz

        Case No:        None
        Offense:        Assist Other Jurisdiction
        Date:           July 31, 2012
        Suspect:        Mitchell Taylor Moore
        Location:        7472 Springside Drive, Myrtle Beach, SC
        Victim:          None/Hillsboro Co. SO                                                                                   i

        1bis investigation was initiated upon request by Detective Hugh A. Gross, Hillsborough Cowity Sheriff's
        Office Juvenile Services Section, (813) 247-8684 Office hgross@hcso.tarnpa.fl.us. Detective Gross
        requested an interview be conducted with Mitchell Taylor Moore with a listed address of 74 72 Springside
        Drive, in the Myrtle Beach section of Horry County.

        On August I, 20 I 2, the below signed responded to the home of record, a single family dwelling located in
        the Socastee area of the County. Upon arrival at 1800 hours, the below signed was greeted by a woman
        identifying herself as Laura Button. Upon further discussion with Mrs. Button, it was learned she was
        familiar with the subject (Moore) as her daughter, Dusty Button was his fiancee. Mrs. Button inquired as to
        the nature of the investigation and was advised another jurisdiction requested the interview due to a "family
        matter'' investigation.

        Mrs. Button advised that the subject as well as her daughter, who is a dancer with the Boston Ballet, lived in
        Boston where they had relocated upon returning from England, where she was a dancer with the Manchester
        Ballet. Mrs. Button was able to provide a contact number for the subject; 917-545-7316 but declined to
        provide his mailing address.

        Mrs. Button then called the subject and passed the phone to the below signed. Upon speaking with the
        subject, who stated he was "Taylor", he was advised there was a request for him to be interviewed in regards
        to his knowledge of a "family matter'' that occurred while he was living in the Tampa area. The subject
        volwiteered he had provided testimony in a divorce case concerning individuals he use to live with, but
        declined to provide any further information stating he didn't want to get dragged back into that situation.

        The subject was informed that due to the sensitive nature of the investigation, a telephone interview was not
        appropriate and requested his physical address. The subject declined stating that if law enforcement wanted
        to speak with him, they should call him on the number provided.




For 260901    Printed On Dec-04-2020 (Fri.)                                                                                                      Page 38 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 44 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 39 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 45 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 40 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 46 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 41 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 47 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 42 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 48 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 43 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 49 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 44 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 50 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 45 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 51 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                               CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 46 of 47
                                                                             GO# HS 2012-315380
                           HILLSBOROUGH
        Case 2:21-cv-01412-ART-EJY DocumentCOUNTY   SHERIFF
                                            437-42 Filed 01/06/25      Page 52 of 52
                                                                                   CLEARED BY
                                         GENERAL OFFENSE HARDCOPY                   EXCEPTION
                                                CUSTOMER SERVICE
                                             (SEX OFF-1 SEX OFFENSE)




                                             *** END OF HARDCOPY ***




For 260901   Printed On Dec-04-2020 (Fri.)                                         Page 47 of 47
